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                                        In the Matter Of:

                                           K.C., ET AL

                                                -v-

       INDIVIDUAL MEMBERS OF MEDICAL LICENSING BOARD OF INDIANA, ET AL
                        ____________________________________________________


               Dr. Catherine Bast + Michelle (Mixhi) Marquis, 30(b)(6) Mosaic

                                          May 15, 2023
                        _____________________________________________________
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·1· · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · ·SOUTHERN DISTRICT OF INDIANA
·2· · · · · · · · · ·INDIANAPOLIS DIVISION

·3

·4· K.C., et al.,· · · · · · · · )
· · · · · · · · · · · · · · · · ·)
·5· · · · · · · Plaintiffs,· · · )
· · · · · · · · · · · · · · · · ·)
·6· · · · · ·-v-· · · · · · · · ·) CASE NO.
· · · · · · · · · · · · · · · · ·) 1:23-cv-00595-JPH-KMB
·7· THE INDIVIDUAL MEMBERS OF· · )
· · THE MEDICAL LICENSING BOARD· )
·8· OF INDIANA, in their official)
· · capacities, et al.,· · · · · )
·9· · · · · · · · · · · · · · · ·)
· · · · · · · · Defendants.· · · )
10

11

12· · · · · The 30(b)(6) deposition upon oral examination

13· of MOSAIC HEALTH AND HEALING ARTS, INC., by

14· DR. CATHERINE BAST and MICHELLE (MIXHI) MARQUIS,

15· witnesses produced and remotely sworn before me,

16· Debbi S. Austin, RMR, CRR, Notary Public in and for

17· the County of Hendricks, State of Indiana, taken on

18· behalf of the Defendants via Zoom videoconference on

19· May 15, 2023, at 9:37 a.m., pursuant to the Federal

20· Rules of Civil Procedure.

21

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24· · · · · · · STEWART RICHARDSON & ASSOCIATES
· · · · · · · ·Registered Professional Reporters
25· · · · · · · · · · · ·(800)869-0873
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·1· · · · · · · · · · · · APPEARANCES

·2· · · · (All participants via Zoom videoconference)

·3· FOR THE PLAINTIFFS:

·4· · · ·Kenneth J. Falk, Esq.
· · · · ·Stevie Pactor, Esq.
·5· · · ·Gavin M. Rose, Esq.
· · · · ·ACLU OF INDIANA
·6· · · ·1031 East Washington Street
· · · · ·Indianapolis, IN· 46202
·7· · · ·kfalk@aclu-in.org
· · · · ·spactor@aclu-in.org
·8· · · ·grose@aclu-in.org

·9· · · ·Chase Strangio, Esq.
· · · · ·AMERICAN CIVIL LIBERTIES
10· · · ·UNION FOUNDATION
· · · · ·125 Broad Street
11· · · ·New York, NY· 10041
· · · · ·cstrangio@aclu.org
12

13· FOR THE DEFENDANTS:

14· · · ·Thomas M. Fisher, Esq.
· · · · ·Razi Lane, Esq.
15· · · ·OFFICE OF THE ATTORNEY GENERAL
· · · · ·302 West Washington Street
16· · · ·IGCS Fifth Floor
· · · · ·Indianapolis, IN· 46204
17· · · ·tom.fisher@atg.in.gov
· · · · ·razi.lane@atg.in.gov
18

19· ALSO PRESENT:· Shawn Weyerbacher
· · · · · · · · · ·Brad Davis
20

21

22

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Informed Consent for balancing     %MOSAIC
hormones in Gender Divserse people

We believe that even if you are younger than 18, you get to make choices about your own
body. We respect your choices. This signed document indicates that we have discussed
hormone treatment for your needs and that you understand what we know and what we don't
know about potential risks of changing the hormone balance in your body, and what changes
are permanent and which are not. This document also indicates that one adult in your life
over the age of 18 is supporting you in this decision.

Hormone blocking at the level of LH/FSH
Methods: subdermal implant (Supprelin), injections (Lupron)
Both same mediation: luprolide
What we know:
     Luprolide prevents the anterior pituitary gland from making FSH and LH which means that
     neither testosterone or estradiol will be made by the organs that you were born with. Some
     testosterone gets made in the adrenal glands (usually small amounts) and this will continue.
     Some estradiol is converted from testosterone to estradiol in fat under the skin and this will
     continue. We know that LONG term blocking of testosterone and estrogen will weaken bones.
      This medicine has been used for years in the treatment of precocious puberty.
Permanent changes: none
What we don't know:
     How many years of blocking before either testosterone or estrogen is needed to support bone
    development, early data suggest that 3 years may be the line
     The effect on long term fertility
     The effect on long term metabolism.

Please sign here if you have read the above and talked with your provider about any other questions
that you might have and you want to begin hormone blocking.




       Par,.   .L   NamE




Patient Signature                                          Parent Signature
                                                                                                                   Exhibit
                                                                                                                    to
                                                                                                                   05/15/23


                                           Mosaic Health and Healing Arts
       WWW.MOSAICHHA.ORG   I   (574) 537-2680 330   I   Lakeview Drive Goshen, IN 46528   I   mosaicinfo@mosaichha.org
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Informed Consent for balancing
hormones in Gender Diverse people
                                                                                                      "MOSAICHE




We believe that you get to make choices about your own body. We respect your choices. This signed
document indicates that we have discussed hormone treatment for your needs and that you understand what
we know and what we don't know about potential risks of changing the hormone balance in your body, and
what changes are permanent and which are not.

Increasing testosterone:
What we know:
Increasing testosterone in the body leads to some changes that are permanent and some that
are not..
       Permanent:                               Not permanent:
       Voice deepening                          Skin changes: more oily, sometimes more acne
       Clitoris growing                         Hair growth on body
                                                Hair loss on head (sometimes permanent)
                                                Fat redistribution
                                                Stopping periods
                                                Increasing Red blood cell production
                                                Increased muscle mass and creatinine production
 People whose bodies are at higher concentration of testosterone have higher risk of heart disease,
high cholesterol and high blood pressure. These are all modifiable by diet, exercise and medications.
Taking testosterone that is NOT made by your body does not increase your risk of these effects MORE
than if your body made it.
 Testosterone is dangerous to unborn babies.
  It is possible to get pregnant while on Testosterone EVEN if periods have stopped.
 For those that engage in sexual activity that could produce a new human, condoms are first line and
consider copper IUD (non hormonal birth control).

What we don't know:
 How hormonal birth control (depot shot, birth control pills, Mirena IUD) interact with testosterone
 What Testosterone does to fertility. Some trans men come off T and get pregnant and birth babies,
have no long term data on these humans

Please sign here if you have read the above and talked with your provider about any other
questions that you might have and you want to begin taking testosterone.



Printed Patient Name           Date of Birth                    Printed Parent Name

                                                                                                                          Exhibit
Patient Signature                       Date                  Parent Signature
                                                                                                                            16
                                                                                                                           05/15/23



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Informed Consent Model of Care

The informed consent model of care respects your fundamental human right
to self-determination and bodily autonomy. The purpose of this document is to
indicate, in writing, that you consent to masculinizing hormone therapy as part of
a gender affirmation process. This form may be signed by any person of sound
mind over the age of 18, or younger, with the cosignature of a parent or guardian.

This document relates to the hormone testosterone. Your provider will discuss
with you all of the information relating to starting hormone therapy. Please read
and understand the following information, and raise any questions you have with
your provider.




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Patient Information Sheet:
Expected changes on masculinizing hormone therapy
Typical changes from Testosterone (varies from person to person)

7- Average timeline                                        Effect of Testosterone

    1-3 months after starting testosterone                  decreased estrogen in the body
                                                            increased sex drive
                                                            vaginal dryness
                                                            growth of the clitoris - typically 1-3 cm
                                                            increased growth, coarseness, and thickness of
                                                           hairs on arms, legs, chest, back, & abdomen
                                                            oilier skin and increased acne
                                                            increased muscle mass and upper body strength
                                                            redistribution of body fat to the waist, less around
                                                           the hips


                                                           menstrual periods stop
    1-6 months after starting testosterone



    3-6 months after starting testosterone                  voice starts to crack and drop within first 3-6 months,
                                                           but can take a year to finish changing



    1 year or more after starting
    testosterone                                           gradual growth of facial hair (usually 1-4 years)
                                                           possible male -pattern balding

                                                                                                                         J



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Patient Information

     Permanent changes expected while on masculinizing hormone therapy:
           Increased facial and body hair
           Deepened voice
           Enlargement of erectile genital tissue (phallus / clitoris)
           Possible male pattern balding
           Possible permanent infertility


     Reversible changes possible while on masculinizing hormone therapy:
            Increased libido
            Body fat redistribution
           Coarser and oilier skin
           Acne of face, chest and back
           Stopping of menstrual periods
           Vaginal dryness
           Raised cholesterol
           Increased blood pressure
           Mood changes - aggression, depression


     Potential side effects and risks of masculinizing hormone therapy:
           Polycythemia - increased number of red blood cells, resulting in
           "thickened" blood
           Increased risk of cardiovascular disease
           Difficulty controlling blood sugars in people with diabetes
           Osteoporosis
           Liver damage
           Increased salt and water retention




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    Masculinizing hormone therapy affects everyone differently, and there is no way
    to predict exactly how the body will change. Some of the long term effects of
    masculinizing hormone therapy are not yet known.


    The use of masculinizing hormones do not guarantee infertility, and contraception
    should be used when having sex that puts someone at risk of pregnancy. Getting
    pregnant while taking testosterone could put the baby at serious risk of harm.


    Gender affirming hormone therapy means that provider visits will be necessary to
    have blood tests at regular intervals throughout life. Appointments will be more
    frequent at first, and then every 6-12 months when hormone levels are stable. Be
    ready to make this commitment to health.


    Gender affirming hormones are only a part of overall health, and a range of
    preventative health activities are recommended. These include but are not limited
    to:
           Cervical screening tests at appropriate intervals, as recommended
          by my provider
           Regular breast mammograms if appropriate, in consultation
          with provider
           Quitting smoking
           Immunisations
           Regular STI screening, depending on level of risk
           HIV prevention, depending on level of risk
           Regular physical activity, including resistance exercise for bone health
           Healthy eating



Stopping gender affirming hormone therapy is always an option. Please talk to your provider
about your goals and your growing and changing self awareness.




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Informed Consent for balancing                                                                             "¿MOSAICHealth & Healing Arts
hormones in Gender Diverse people
We believe that you get to make choices about your own body. We respect your choices. This signed
document indicates that we have discussed hormone treatment for your needs and that you understand what
we know and what we don't know about potential risks of changing the hormone balance in your body, and
what changes are permanent and which are not. This document also indicates that one adult in your life over
the age of 18 is supporting you in this decision.

Increasing estrogen:
What we know: increasing estrogen will cause...
                    Permanent changes:                                        Not permanent changes:
                         Breasts                                              Skin changes: softening
                                                                              Body hair decrease
                                                                              Body fat redistribution

Is it possible to achieve levels of estrogen in the body that will make these changes by simply taking estrogen
alone, sometimes an androgen blocker can help speed the process.

Androgen blockers:
Spironolactone (blood pressure medication that also blocks Testosterone receptors)-side effects of increased
urination and possible increase in cortisol, people report brain fog, depression

Bicalutamide: binds and inhibits testosterone receptors-side effects of elevated blood pressure, rash and
elevated liver enzymes

What we don't know:
        Effect on long term fertility. There are folks who have been taking estrogen and then stop
and are able to produce viable sperm again but we don't know what the long term effects are
on these sperm or any new humans created with them.
        How your body with metabolize estrogen. Some people do very well on oral formulations,
some need injectables.
        Exact relationship between estrogen levels and development of blood clots but we have not
had any difficulty with bio identical estradiol in people without a known clotting disorder.

Please sign here if you have read the above and talked with your provider about any other questions that
you might have and you want to begin increasing the estrogen balance in your body.



Printed Patient Name              Date of Birth                   Printed Parent Name

                                                                                                                         Exhibit
Patient Signature                         Date                   Parent Signature
                                                                                                                              17
                                                                                                                             05/15/23


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Informed Consent Model of Care

The informed consent model of care respects your fundamental human right to
self-determination and bodily autonomy. The purpose of this document is to
indicate, in writing, that you consent to feminizing hormone therapy as part of
a gender affirmation process. This form may be signed by any person of sound
mind over the age of 18, or younger, with the cosignature of a parent or guardian.

This document relates to the hormones estrogen and progesterone, as well as
testosterone blocking medications. Your provider will make a medical decision,
in consultation with you, about the medications that are best for you, keeping in
mind your overall health during your gender affirmation process. Your provider
will discuss with you all of the information relating to starting hormone therapy.
You are asked to read and understand the following information, and raise any
questions you have with your provider.




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Patient Information Sheet:
Expected changes on feminizing hormone therapy
Typical changes from Estrogen (varies from person to person)

7- Average timeline                                         Effect of Estrogen

    1-3 months after starting estrogen                       softening of skin
                                                             decrease in muscle mass and increase in
                                                            body fat
                                                             redistribution of body fat to buttocks and hips
                                                             decrease in sex drive
                                                             fewer instances of waking up with an erection
                                                            or spontaneously having an erection; some trans
                                                            women also find their erections are less firm
                                                            during sex, or can't get erect at all
                                                             decreased ability to make sperm and ejaculatory
                                                            fluid


                                                             nipple and breast growth
    Gradual changes (maximum change                          slower growth of facial and body hair
    after 1-2 years on estrogen)                             slowed or stopped balding
                                                             decrease in testicular size

                                                                                                                           J
Typical changes from Anti -Androgens (varies from person to person)

    Average timeline                                         Effect of blocking

    Testosterone 1-3 months after                             decreased testosterone in the body
                                                              decrease in sex drive
    starting antiandrogens                                    fewer instances of waking up with an erection
                                                             or spontaneously having an erection; some trans
                                                             women also have difficulty getting an erection
                                                             even when they are sexually aroused; some have
                                                             painful erections
                                                              decreased ability to make sperm and ejaculatory
                                                             fluid




                                                              slower growth of facial and body hair
    Gradual changes                                           slowed or stopped balding
    (usually at least 2 years)                                slight breast growth
                                                             (reversible in some cases, not in others)
                                                                                                                           I
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Patient Information


     Permanent changes expected while on feminizing hormone therapy:
         Breast and nipple development
         Decreased testicular size
         Possible permanent infertility


     Reversible changes expected while on feminizing hormone therapy:
         Softening of skin
         Decreased muscle mass and increased body fat
         Decreased libido
         Reduced spontaneous morning erections
         Reduced ability to achieve or sustain an erection
         Reduced ability to ejaculate and reduced volume of ejaculatory fluid
         Slowed or stopped balding
         Slowed rate of growth of facial and body hair
         Improved cholesterol


    Side effects of feminizing hormone therapy
         Headaches
         Nausea
         Fluid retention and bloating
         Breast and nipple tenderness
         Mood disturbance, such as teariness, depression or anxiety
         Fatigue
         Blood clots, deep vein thrombosis or potentially fatal pulmonary embolism
         Stroke




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      Potential risks of feminizing hormone therapy:
           Blood clots, deep vein thrombosis or potentially fatal pulmonary embolism
           Stroke
           Increased risk of heart disease or heart attack
           Raised blood pressure
           Liver damage
           Osteoporosis

    Feminizing hormone therapy affects everyone differently, and that there is no way to
    predict exactly how bodies will change. Some of the long term effects of feminizing
    hormone therapy are not yet known.


    Continuing to smoke any product containing nicotine (cigarettes, tobacco, electronic
    vaporisers) while taking estrogen may increase risk of developing a blood clot, deep
    vein thrombosis or a potentially fatal pulmonary embolism.


    The use of feminizing hormones does not guarantee infertility, and contraception
    should be used to avoid unwanted pregnancy if having sex with someone who could
    become pregnant.


    Gender affirming hormone therapy means that provider visits will be necessary to
    have blood tests at regular intervals throughout life. Appointments will be more
    frequent at first, and then every 6-12 months when hormone levels are stable. Be
    ready to make this commitment to health.




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        Gender affirming hormones are only a part of overall health, and a range of
        preventative health activities are recommended.
        These include but are not limited to:
               Regular breast mammograms from an appropriate age, in consultation with
              my provider
               Quitting smoking
               Immunizations
               Regular STI screening, depending on my level of risk
               HIV prevention, depending on my level of risk
               Regular physical activity, including resistance exercise for bone health
               Healthy eating




Stopping gender affirming hormone therapy is always an option. Please talk to your provider
about your goals and your growing and changing self awareness.




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REV02072022


                                                                                           "MOSAIC      Health & Healing Arts



Feminizing Social Transitions:
What to know
Transitioning is any change or adjustment that decreases feelings of dysphoria and
increases feelings of euphoria or feeling affirmed in your gender expression.

Transitions can be social, medical, surgical, and/or legal.

There is a long list of ways someone can transition socially. For someone who is feminizing,
this may look like...


    Shifting pronouns                                               Dressing differently
    Shifting pronouns to she/her, they/she, she/they,               Changing the way that one dresses may aid in
    or other pronouns that feel affirming are some of               reducing feelings of dysphoria. Wearing more
    the first social transitions people try out. Finding            traditionally feminine clothing/shoes/accessories/
    pronouns that feel affirming and in line with your              undergarments or other clothing that feels
     gender identity is important.                                  affirming to one's gender expression can be
                                                                    helpful.
    Changing names
    Changing one's name is another social transition                Wearing makeup and painting nails
    that people find to be affirming. One may practice              Wearing makeup and painting finger/toenails are
    trying different names out online, with romantic                more ways people can feel more affirmed in their
    partners, family, or friends.                                   gender expression and can decrease feelings of
                                                                    dysphoria.
    Tucking garments
    Those looking to feminize may benefit from using                Wearing prosthetics
    tucking garments. These are garments that safely                Wearing prosthetics that give the appearance of
    tuck the penis to diminish the look of a bulge and              a larger chest may help those that are feminizing
     help one feel more comfortable in certain clothing.            to feel more affirmed in their gender identity. This
                                                                    may also be done by stuffing a bra with socks or
                                                                    other materials.




                                                                                                                             Exhibit
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                                     All Materials eD Mosaic Health & Healing Arts 2022


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Masculinizing Social Transitions:
What to know
Transitioning is any change or adjustment that decreases feelings of dysphoria and
increases feelings of euphoria or feeling affirmed in your gender expression.

Transitions can be social, medical, surgical, and/or legal.

There is a long list of ways someone can transition socially. For someone who is
masculinizing, this may look like...


     Shifting pronouns                                              Using stand -to -pee devices
     Shifting pronouns to he/him, they/he, he/they, or              Using stand -to -pee devices can be helpful for those
     other pronouns that feel affirming are some of                 that may have dysphoria about how their pee
     the first social transitions people try out. Finding           sounds or their inability to use a urinal.
     pronouns that feel affirming and in line with your
     gender identity is important.                                  Using a packer
                                                                    Packers may be used to give the feeling or look of
     Changing names                                                 having a penis.
     Changing one's name is another social transition
     that people find to be affirming. One may practice             Dressing differently
     trying different names out online, with romantic               Dressing in a way that feels more masculine can
     partners, family, or friends.                                  be a great way to express one's gender. This could
                                                                    mean wearing clothes/shoes/accessories that are
     Chest binding                                                  considered traditionally masculine, wearing boxers/
     Binding the chest to give the appearance of a                  briefs, or any other items that feel affirming.
     more flat chest may feel affirming to someone
     who is looking to masculinize. Ensuring that you               Using period underwear
     are binding correctly with garments made for this              Periods can cause feelings of dysphoria and using
     purpose is extremely important. Do not bind with               traditional period products isn't always ideal for
     Ace bandages.                                                  those using the men's restroom. Underwear from
                                                                    brands like Thinx are made to be worn during one's
                                                                    period and can be washed for continual use.


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